                                                     CRIMINAL COVER SHEET
                                                 MIDDLE DISTRICT OF TENNESSEE
                                                      NASHVILLE DIVISION

Indictment         ☐
Complaint          ☒                                                     County of Offense:          Davidson_____________
Information        ☐                                                     AUSA’s NAME:                Artis
Felony             ☒
Misdemeanor        ☐                                                     Reviewed by AUSA:           __DA___________
Juvenile           ☐                                                                                 (Initials)


LA'DESION RILEY_______
Defendant’s Full Name

                                                                         Interpreter Needed?         ☐ Yes ☒ No
Defendant’s Address
                                                                         If Yes, what language?

Defendant’s Attorney


 COUNT(S)         TITLE/SECTION                     OFFENSE CHARGED                         MAX. PRISON (plus               MAX. FINE
                                                                                          any mandatory minimum)


       -        18 U.S.C. § 2113(a)      Bank Robbery                                              20 years                  $250,000



Is the defendant currently in custody?        Yes       ☐       No       ☒        If yes, State or Federal? Writ requested ☐

Has a complaint been filed?               Yes       ☐       No           ☐
        If Yes: Name of the Magistrate Judge                                      Case No.:
                 Was the defendant arrested on the complaint?                     Yes    ☐           No       ☐

Has a search warrant been issued?        Yes            ☐       No       ☐
        If Yes: Name of the Magistrate Judge                                                Case No.:

Was bond set by Magistrate/District Judge? Yes          ☐       No       ☐                  Amount of bond: ________________

Is this a Rule 20? Yes ☐ No ☒                 To/from what district?
Is this a Rule 40? Yes ☐ No ☒                 To/from what district?

Estimated trial time:              2 days

The Clerk will issue a Summons/Warrant           (circle one) (Note: If information, request for a warrant requires presentment of a sworn
affidavit of probable cause to a judicial officer, who will determine whether to issue a warrant)

Detention requested: Yes ☒ No ☐     Recommended conditions of release: _____________________________________
_______________________________________________________________________________________________________
_______________________________________________________________________________________________________




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